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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                        CHARLOTTESVILLE DIVISION


                                                        Action No: 3:18cv00090
  Ira D. Socol                                          Date: 5/18/21
                                                        Judge: Joel C. Hoppe, USMJ
  vs.
                                                        Court Reporter: Karen Dotson,
  Albemarle County School Board                         AT&T Conference Manager
                                                        Deputy Clerk: Karen Dotson



  Plaintiff Attorney(s)                         Defendant Attorney(s)
  Jeffrey Adams                                 Jennifer Royer



                                   LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                          DEFENDANT:
  1.                                             1.



 PROCEEDINGS:
 Telephonic Motion Hearing:

 #42 – Third Party Motion for a Protective Order and Limit Deposition Examinations

 Ms. Royer argues motion
 Mr. Adams argues motion
 Rebuttal by plaintiff
 Court to issue order




 Time in court: 12:02-12:50=48 minutes
